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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
________________________________________________
                                                 )
UNITED STATES OF AMERICA                        )
                                                 )
            v.                                   ) No. 19-CR-10080-NMG
                                                 )
DAVID SIDOO, et al.,                             )
                                                 )
                        Defendants               )
                                                 )

 GOVERNMENT’S OPPOSITION TO DEFENDANTS’ MOTION FOR PRODUCTION
       OF PURPORTEDLY EXCULPATORY EVIDENCE REGARDING
             WIRETAP AND CONSENSUAL RECORDINGS

       The government respectfully files this response in opposition to the defendants’ motion to

compel the production of non-pertinent Title III interceptions and consensual recordings. Although

styled as a motion to compel the production of exculpatory evidence, the defendants’ motion

amounts to little more than an impermissible fishing expedition and demand for the early

disclosure of Jencks Act and Giglio material, and should therefore be denied.

                                       BACKGROUND

       As part of the investigation leading to the filing of charges in this case, the government

initiated a Court-authorized wiretap of William “Rick” Singer’s cellular telephone on or about

June 5, 2018. The wiretap lasted until late September 2018, at which point government agents

approached Singer, who thereafter consented to the monitoring of his phone. This consensual

monitoring continued until on or about March 14, 2019.

       In the wake of the defendants’ indictment, the government began producing Rule 16

discovery in or about May 2019. To date, the government has produced over 4,000 intercepted

communications, including every substantive call between Singer and the defendants, and every

call between Singer and coaches or parents that includes a discussion of college admissions or the
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crimes charged in this case and United States v. Ernst, et al., No 19-CR-10081-IT. In addition, the

government has produced line sheets and monitoring logs—which include call synopses—for all

Title III interceptions, whether those calls were deemed pertinent or non-pertinent. In short, the

government’s discovery productions have far exceeded the requirements of Rule 16.

       The defendants’ contention that the government has withheld 7,825 intercepted Title III

communications is incorrect. Close to half of the 7,040 unproduced Title III communications have

no content because the telephones never connected or there was no answer, as the call logs the

government has produced make clear. In total, only 856 completed calls and 951 text messages

with readable content—all of which were reviewed and deemed non-pertinent by the monitoring

agents—have not been produced, as set forth in the table below. (As noted, the defendants have

received line sheets summarizing each of the non-produced calls.)

                                        Title III Interceptions
                                (classifications by monitoring agents)

                                No Audio/Content                 3,420

                                SMS Non-Pertinent                2,6151

                                Pertinent [Calls]                1,473

                                Non-Pertinent [Calls]            8582

                                SMS Pertinent                    775

                                Duplicate Session                93

                                Privileged                       53



       1
         Of the 2,615 text messages classified as non-pertinent, 1,664 have no content, contain
system messages such as “voicemail waiting,” or contain only unreadable application data/MMS
content.
       2
           Two of these interceptions are in fact text messages, not calls.


                                                    2
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                                Not Monitored                   1

                                Total                           9,288


       The defendants’ contention that the government has withheld 6,512 intercepted consensual

communications is also mistaken. More than half of the 6,566 unproduced consensual sessions

have no content. In total, only 892 calls and, at most, 727 text messages with readable content have

been deemed non-pertinent and not produced, as set forth below.

                                      Consensual Interceptions
                                (classifications by monitoring agents)

                                No Audio/Content                      3,659

                                SMS Non-Pertinent                     1,7273

                                Pertinent [Calls]                     1,402

                                Non-Pertinent [Calls]                 8954

                                SMS Pertinent                         647

                                Unknown                               77

                                Duplicate Session                     155

                                SMS Review                            38

                                Privileged                            11

                                Malfunction                           3

                                Administrative                        1



       3
         Of the 1,727 text messages classified as non-pertinent, at least 1,000 have no content,
contain system messages such as “voicemail waiting,” or contain only unreadable application
data/MMS content.
       4
           Two of these interceptions are in fact text messages, not calls, and one has no content.


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                              Total                                 8,615


        Many of the communications that were deemed non-pertinent are personal in nature. For

example, of the approximately 30 hours of Title III recordings that agents deemed non-pertinent,5

nearly six hours’ worth are calls between Singer and members of his family, including his parents,

son, brother, and ex-wife. At least four-and-a-half hours’ worth are calls between Singer and

women he dated. More than four hours’ worth are calls between Singer and airlines or other travel

providers.

        Likewise, of the approximately 52 hours of consensual recordings agents deemed non-

pertinent,6 over 30 hours are calls between Singer and members of his family or women he dated,

as are hundreds of the non-pertinent text messages the government intercepted, either consensually

or pursuant to Title III.

        Government attorneys are currently re-reviewing all of the calls and text messages that

agents previously reviewed and deemed non-pertinent. The government expects this second review

to be completed no later than February 28, and will produce any communications discoverable

pursuant to Brady, the Jencks Act, or Giglio as required by the Local Rules.

                                          ARGUMENT

        The defendants’ motion seeking the production of all non-minimized Title III interceptions

and all consensual recordings and text messages—in other words, all interceptions that have not

been produced to date—should be denied for two reasons. First, the defendants have not articulated




        5
          The total duration of the non-pertinent Title III calls is 29:34:33. More than half of the
calls are less than one minute long.
        6
          The total duration of the non-pertinent consensual calls is 52:17:10. Nearly half of the
calls are less than one minute long.


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with particularity how any of the materials they seek are exculpatory, as required by Brady v.

Maryland, 373 U.S. 83 (1963), and its progeny. Second, to the extent these materials may become

discoverable as Giglio, impeachment information, or pursuant to the Jencks Act, 18 U.S.C. § 3500,

the defendants’ motion is premature.

       A. Applicable Law

       Brady and its progeny do not create a general right to criminal discovery. See Weatherford

v. Bursey, 429 U.S. 545, 559 (1997) (“There is no general constitutional right to discovery in a

criminal case, and Brady did not create one.”). Rather, Brady obligates the government “to disclose

evidence in its possession that is favorable to the accused and material to guilt or punishment.”

United States v. Prochilo, 629 F.3d 264, 268 (1st Cir. 2011). A Brady request “cannot consist of

mere speculation,” and a defendant “should be able to articulate with some specificity what

evidence he hopes to find in the requested materials, why he thinks the materials contain this

evidence, and finally, why this evidence would be both favorable to him and material.” Id.

       B. The Defendants Fail To Articulate How the Materials They Seek Are Exculpatory.

       The defendants fail to articulate how any of the materials they seek are exculpatory, as

required by Brady and its progeny. Indeed, the sweeping nature of their request—which seeks all

consensual and non-minimized Title III interceptions—lays bare that their motion is little more

than an impermissible fishing expedition.

       1. Title III Interceptions

       First, the defendants have failed to identify a single call or text message intercepted

pursuant to Title III that they contend is exculpatory, despite the fact that the government has

produced the line sheets and monitoring logs for all such communications. The materials the

government has produced contain sufficient information for the defendants to assess the relevance




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of the communications, to conduct a minimization analysis, and to satisfy themselves that the non-

pertinent communications do not contain exculpatory information.7 The defendants’ failure

renders this prong of their motion fatally deficient, and makes clear that their demand for “[t]he

full set of audios,” D.E. 681 at 6, is simply an effort to troll through all of Singer’s communications

in the hope that something will turn up. That is not permitted. See United States v. Caro-Muniz,

406 F.3d 22, 29 (1st Cir. 2005) (“Brady does not permit a defendant to conduct an in camera

fishing expedition through the government’s files”) (internal quotation omitted).

       The defendants acknowledge that, in many instances, the information they seek is simply

“the presence or absence of a particular communication”—including, for example, whether Singer

was telling the truth (in recordings that have been produced) about his relationships with certain

high-profile clients and university athletic coaches. See D.E. 681 at 5, 6. Such information,

however, is not exculpatory, because it is neither favorable to the defendants nor material to their

guilt. Even if, as they contend, Singer made false claims to “foster[] trust and boost[] his perceived

legitimacy,” id. at 5, that has no bearing on whether the defendants had the requisite intent to

commit the charged crimes, and are guilty of those crimes.8 In any event, the logs the government

has produced contain the information the defendants seek. To the extent they do not reflect a

particular communication, it does not exist. To the extent they do reflect a particular



       7
          To the extent the defendants review the line sheets and identify specific communications
that they believe contain exculpatory information, the government will address such requests on a
case-by-case basis.
       8
         For example, whether Singer had a relationship with                 at the time of his call
with Sidoo in 2018 is irrelevant to whether Sidoo intended to engage in the college entrance exam
cheating scheme on behalf of his two sons years earlier. Similarly, whether Singer actually spoke
to the USC crew coach regarding Zangrillo’s daughter is irrelevant to whether Zangrillo agreed to
pay $250,000 to bribe the coach to facilitate his daughter’s admission to USC as a purported crew
recruit.


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communication that has not been produced—and that the defendants contend is exculpatory—the

defendants can ask for it.

       Second, to the extent the defendants seek Singer’s unproduced communications to prepare

for his possible testimony at trial—pursuant to Section 3500, to demonstrate bias, or, as they

suggest, to “undermine [Singer’s] credibility,” D.E. 681 at 6—their motion is premature. No trial

date has even been set in this case. Local Rule 116.2(b)(2) requires only that Giglio and

impeachment information be produced no later than 21 days before trial. And the law is clear that

the Court may not compel the disclosure of statements pursuant to the Jencks Act before the

conclusion of a witness’s testimony on direct examination. See, e.g., United States v. Grandmont,

680 F.2d 867, 874 (1st Cir. 1982) (courts “may not compel the disclosure of statements before the

conclusion of [the witnesses’] direct testimony”); United States v. Owens, 933 F. Supp. 76, 81 (D.

Mass. 1996) (Young, J.) (“[D]istrict Court judges may not, over the government’s objection,

compel pretrial disclosure of nonexculpatory Jencks Act material earlier than the close of a

witness’s testimony on direct examination.”).

       2. Consensual Interceptions

       The defendants’ request for all consensual interceptions is equally unavailing.

       First, as with their request for non-pertinent Title III intercepts, the defendants do not even

attempt to meet their burden of articulating with specificity what evidence they hope to find and

why it would be exculpatory. Instead, they simply assert, without more, that “[t]he mere fact that

the consensual recordings were made while Singer was cooperating with the government strongly

suggests that the communications are exculpatory in nature.” D.E. 681 at 4. This bare assertion—

which makes no logical sense—fails to meet the standard set forth in Prochilo and makes clear




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that the defendants are improperly attempting to use Brady as a discovery device.9

       Second, as with the Title III interceptions, the defendants effectively concede that they seek

the non-pertinent consensual interceptions as Giglio, Jencks, or impeachment information,

asserting “that any and all such communications have the potential to demonstrate Singer’s bias

and interest in favor of furthering the government’s investigation.” D.E. 681 at 4 (emphasis added).

But the defendants’ unsupported contention that consensual recordings deemed non-pertinent may

potentially demonstrate bias on the part of a possible witness does not entitle them to early

discovery of 21-day material.

       Similarly speculative is the defendants’ assertion that the non-pertinent interceptions are

likely to include evidence of Singer’s attempts to impede the government’s investigation, his

attempts to broaden his legitimate business interests (which the defendants argue is indicative of

Singer’s subjective belief that he will not be incarcerated), and false statements to prospective

clients. Indeed, the defendants’ contention, in back-to-back sentences, that the recordings will

likely include both information demonstrating Singer’s “bias and interest in favor of furthering the

government’s investigation” and “evidence of Singer’s attempts to impede the government’s

investigation,” id., reveals the extent to which their motion is simply a fishing expedition. In any

event, neither category of evidence constitutes Brady, and the defendants do not, because they

cannot, articulate with specificity how the evidence they seek is favorable to them and material.



       9
           The defendants contend that because there is no log of the unproduced consensual
interceptions, there is no way for them to identify any particular relevant communication. But the
lack of a log does not entitle the defendants to circumvent their burden under Brady and its
progeny. Moreover, Title III does not apply to consensual recordings, see 18 U.S.C. § 2511(c)(2),
and neither log sheets nor logs are required for consensual recordings. To the extent there are any
notes concerning such recordings, Fed. R. Crim. P. 16(a)(2) provides that they are not subject to
disclosure. In any event, defendants do have a log for the Title III recordings and have nevertheless
failed to specifically identify any exculpatory calls.


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         C. Production of Any Discoverable Interceptions in Accordance with the Local Rules
            Will Not Result in Delay.

         As the government has noted, attorneys are currently re-reviewing the unproduced Title III

and consensual communications and will produce any discoverable materials in compliance with

the Local Rules. Contrary to the defendants’ argument, this should not result in any delay of the

proceedings.

         As set forth above, there are a limited number of calls and texts that have not been

produced, and the government is currently conducting a second review of all of them—a process

that, despite the small size of the government team, will be completed no later than February 28.

Nearly all of the communications are in English. To date, over 40 attorneys have entered notices

of appearance on behalf of the remaining defendants—many from large firms. Accordingly, the

defendants’ claim that they will be prejudiced by an “eve of trial” production is premature and

implausible. Consistent with its practice, the government will produce any discoverable materials

in compliance with the Local Rules and in ample time for the defendants to review them prior to

trial.

                                         CONCLUSION

         For the foregoing reasons, the defendants’ motion should be denied.

                                                      Respectfully submitted,

                                                      ANDREW E. LELLING
                                                      UNITED STATES ATTORNEY

Dated: January 14, 2020                       By:     /s/ Leslie A. Wright
                                                      ERIC S. ROSEN
                                                      JUSTIN D. O’CONNELL
                                                      LESLIE A. WRIGHT
                                                      KRISTEN A. KEARNEY
                                                      Assistant United States Attorneys




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Dated: January 14, 2020                              By:     /s/ Leslie A. Wright
                                                             LESLIE A. WRIGHT
                                                             Assistant United States Attorney




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